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8                                   UNITED STATES DISTRICT COURT

9                                SOUTHERN DISTRICT OF CALIFORNIA

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                                                            Case No.: 18cv395-L(BLM)
11   CRYSTAL HILSLEY, on behalf of herself and
     all others similarly situated,
12                                                          ORDER GRANTING JOINT MOTION
                                          Plaintiffs,       FOR ENTRY OF STIPULATED
13                                                          PROTECTIVE ORDER WITH
     v.                                                     MODIFICATIONS
14
     GENERAL MILLS, INC., et al.,
15
                                       Defendants.          [ECF No. 31]
16

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18         On June 24, 2019, the parties filed a joint motion for entry of a protective order governing

19   confidential information. ECF No. 31. After reviewing the parties proposed, stipulated protective

20   order, the Court GRANTS the parties’ joint motion with the following modifications:

21

22         1.     Paragraph VII.B.1. of the Protective Order [ECF No. 31 at 8] will read as follows,

23   in compliance with Magistrate Judge Barbara L. Major’s Chambers Rules:1

24

25         In the event of any dispute regarding a designation of confidentiality, the
           challenging party’s counsel must meet and confer pursuant to Civil Local Rule 26.1.
26
27
     1Honorable Barbara Lynn Major, U.S. Magistrate Judge, Chambers Rules-Civil Cases, available
28   at https://www.casd.uscourts.gov/judges/major/docs/Chambers%20Rules%20Civil.pdf.

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          If counsel are in the same county, they are to meet in person; if counsel practice
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          in different counties, they are to confer by telephone. Under no circumstances
2         may counsel satisfy the “meet and confer” obligation by written or emailed
          correspondence. The Court expects strict compliance with the meet and confer
3         requirement, as it is the experience of the Court that the vast majority of disputes
          can be resolved by means of that process. Counsel must thoroughly meet and
4
          confer and shall make every effort to resolve all disputes without the necessity of
5         court intervention.

6         If a party or lawyer fails to respond to opposing counsel’s request to meet and
7         confer for more than 72 hours, counsel may contact chambers and request a
          telephonic conference with the clerk assigned to the case or an appropriate briefing
8         schedule. If the parties fail to resolve their dispute through the meet and confer
          process, then counsel for all parties are required to determine a mutually agreeable
9         time to conduct a conference call with Chambers. The Court will not assign a
10        hearing date before conducting a conference call with all counsel.

11

12        2.     Paragraph XIII.C.1. of the Protective Order [ECF No. 31 at 14] will read as follows:

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          When filing a document under seal, the parties must comply with the rules for
14
          each respective Judicial Chambers. Accordingly, if the pleadings are being
15        submitted to District Judge Cathy A. Bencivengo, the parties must refer to Judge
          Bencivengo’s Chambers Rules for Civil cases, which is accessible through the
16        Court’s website at www.casd.uscourts.gov. Conversely, if the pleadings are being
          submitted to Magistrate Judge Barbara L. Major, the party must comply with the
17
          requirements set forth below:
18
          Before any materials produced in discovery, answers to interrogatories, responses
19        to requests for admissions, deposition transcripts, or other documents which are
          designated as confidential information are filed with the Court for any purpose,
20
          the party seeking to file such material must seek permission of the Court to file
21        the material under seal. No document may be filed under seal (i.e., closed to
          inspection by the public) except pursuant to a Court order that authorizes the
22        sealing of the particular document, or portions of it. A sealing order may issue only
          upon a showing that the information is privileged or protectable under the law.
23
          The request must be narrowly tailored to seek sealing only of the confidential or
24        privileged material. To file a document under seal, the parties must comply with
          the procedures explained in Section 2.j of the Electronic Case Filing Administrative
25        Policies and Procedures Manual for the United States District Court for the
          Southern District of California and Civil Local Rule 79.2. The party seeking to file
26
          confidential material under seal must file a joint motion or ex parte application
27        requesting that the confidential portions of the document(s) be filed under seal
          and setting forth good cause for the request. Simultaneously, the party seeking to
28        file the confidential material must file a public version of any documents that it

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          seeks to file under seal, in which only material deemed “CONFIDENTIAL” or
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          “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” may be redacted.
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3    IT IS SO ORDERED.

4    Dated: 6/25/2019

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